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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

PAUL JOHNSON,                                             §
Individually and on behalf                                §          Civil Action No. 4:18-cv-04476
of all others similarly situated                          §
                                                          §
         Plaintiff,                                       §
                                                          §          JURY TRIAL DEMANDED
v.                                                        §
                                                          §
NATION WASTE, INC.                                        §
                                                          §          COLLECTIVE ACTION
         Defendant.                                       §          PURSUANT TO 29 U.S.C. § 216(b)


      PLAINTIFFS’ OPPOSED MOTION AND BRIEF IN SUPPORT FOR
CONDITIONAL CERTIFICATION AND NOTICE TO PUTATIVE CLASS MEMBERS


TO THE HONORABLE KEITH P. ELLISON:

         Plaintiff Paul Johnson, individually and on behalf of all opt-in plaintiffs and others similarly

situated (hereinafter “Plaintiffs and the Putative Class Members”) file this Opposed Motion and

Brief in Support for Conditional Certification and Notice to Putative Class Members (“Motion”)

pursuant to 29 U.S.C. § 216(b). Plaintiffs seek to conditionally certify a collective action for “all

Waste Disposal Drivers who worked for Nation Waste, Inc. at any time from January 18, 2016,

through the present.” The Putative Class Members are similarly situated in terms of their job titles,

duties, and compensation. All of the Putative Class Members have been the victims of a single and

widespread corporate policy that uniformly did not compensate them for all hours worked and did

not compensate them for overtime for all hours worked over forty (40) hours each workweek.




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                                                 I.
                                      CASE PROCEDURAL SUMMARY

         Plaintiffs and the Putative Class Members are current and former Waste Disposal Drivers

who worked for Nation Waste, Inc. (“Nation Waste”) at any time from January 18, 2016 through

the present. Plaintiffs contend that Nation Waste did not pay them for all hours worked and did not

pay them overtime pay at the required rate of one and one-half times their regular rate of pay for all

hours worked over forty each week. Specifically, Nation Waste paid Plaintiffs and the Putative Class

Members either a day rate and no overtime or paid Plaintiffs and the Putative Class Members

“straight time”—that is, Nation Waste paid Plaintiffs and the Putative Class Members the same

hourly rate for all hours worked. Plaintiff Johnson filed this collective action lawsuit pursuant to 29

U.S.C. § 216(b) on November 27, 2018. See ECF No. 1. To date, two additional Nation Waste

employees have filed their written consent to become party plaintiffs in this matter.1

                                                        II.
                                                ISSUE PRESENTED

         The issue herein is whether the Putative Class Members should be notified about the

existence of this action so that they can make an informed decision about whether to join this suit

and stop the statute of limitations from running on their claims for unpaid overtime compensation.

The merits of Plaintiffs’ claims or Defendant’s common defenses are not before the Court and nor

are they an appropriate inquiry for purposes of conditional certification. See Bunker v. PCP For Life,

PA, No. 4:16-cv-2573, 2017 WL 3187610, at *1 (S.D. Tex. Jul. 26, 2017) (recognizing that because

discovery has not occurred, “courts traditionally do not review the underlying merits of the action”);

Kibodeaux v. Wood Grp. Prod. & Consulting Servs, Inc., No. 4:16-cv-3277, 2017 WL 1956738, at *3 (S.D.

Tex. May 11, 2017) (finding that “the need to adjudicate the misclassification issue does not preclude



         1Donald Hanes filed his written consent to join this lawsuit on December 14, 2018 (ECF No. 7) but
has decided to withdraw from this lawsuit at this time (ECF No. 14).


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conditional certification”); Craven v. Excel Staffing Servs., No. H-12-2860, 2014 WL 345682, at *7 (S.D.

Tex. Jan. 30, 2014) (recognizing that “courts do not review the underlying merits of the action in

deciding whether to conditionally certify the class”); see also McKnight v. D. Hous., Inc., 756 F. Supp. 2d

794, 802 (S.D. Tex. 2010). Notice at this stage is critical so that these workers can make an informed

decision about whether to join this suit and stop the statute of limitations from running on their

claims for unpaid overtime compensation.2

                                                   III.
                                          SUMMARY OF ARGUMENT

         Plaintiffs seek conditional certification of a class defined as “all Waste Disposal Drivers who

worked for Nation Waste, Inc. at any time from January 18, 2019 through the present.” In support

of their Motion for Conditional Certification, Plaintiffs have presented substantial evidence that they

are similarly situated in the form of declarations and another similar lawsuit against Nation Waste.

Plaintiffs’ consistent testimony shows that Plaintiffs and the Putative Class Members had thirty (30)

minutes automatically deducted from their pay, every day, for lunch breaks they either did not take

or that they worked through while eating. Further, Plaintiffs’ consistent testimony confirms that

Plaintiffs and the Putative Class Members were not paid overtime at a rate of time and one-half for

hours worked in excess of forty (40) hours in a workweek. This evidence easily surpasses Plaintiffs’

lenient burden at this conditional certification stage and establishes that Nation Waste did not


         2
           Unlike Rule 23 class actions in which the statute of limitations is tolled for all potential
class members with the filing of the complaint, the statute of limitations under the FLSA is not
tolled with the commencement of the action or even with an order granting conditional certification.
Fisher v. Michigan Bell Telephone Co., C.A. 2:09-cv-10802, 2009 WL 3427048, at *8 (E.D. Mich. Oct. 22,
2009). Rather, the statute of limitations continues to run on each individual’s claim until they file
their written consent to join the action with the court. Id.; see also 29 U.S.C. § 216(b) (“No employee
shall be a party Plaintiff to any such action unless he gives his consent in writing to become such a
party and such consent is filed in the court in which such action is brought.”). Although the notice
process does not stop the statute of limitations, it does, at a minimum, notify the potential class
members of the case, and that the statute of limitations is running on their claims. Fisher, 2009 WL
3427048, at *8 (citing Hoffmann-La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989)).



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compensate Plaintiffs and Putative Class Members for all hours worked nor did they pay overtime

for all hours worked in excess of forty (40) hours in a workweek in violation of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. §§ 201–19.

                                                 IV.
                                        ARGUMENT & AUTHORITIES

A.       LEGAL STANDARD FOR CONDITIONAL CERTIFICATION

         The FLSA’s “collective action” provision allows one or more employees to bring an action

for overtime compensation on “behalf of himself or themselves and other employees similarly

situated.” 29 U.S.C. § 216(b). District courts have broad discretion to allow a party asserting FLSA

claims on behalf of others to notify putative class members that they may choose to “opt-in” to the

suit. See Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165, 169 (1989). Court-authorized notice protects

against “misleading communications” by the parties, resolves the parties’ disputes regarding the

content of any notice, prevents the proliferation of multiple individual lawsuits, assures joinder of

additional parties is accomplished properly and efficiently, and expedites resolution of the dispute.

Id. at 170–72.

         Under Section 216(b), an employee need only show that he is suing his employer for himself

and on behalf of other employees “similarly situated.” Mooney v. Aramco Servs. Co., 54 F.3d 1207,

1213–16 (5th Cir. 1995); Grayson v. K-Mart Corp., 79 F.3d 1086, 1096 (11th Cir. 1996), cert. denied, 117

S. Ct. 435 (1996); D’Anna v. M/A-Com, Inc., 903 F. Supp. 889, 893 (D. Md. 1995). Indeed, plaintiffs’

claims need not be identical to the potential opt-ins, they need only be similar. Grayson, 79 F.3d at

1096 (emphasis added); Tice v. AOC Senior Home Health Corp., 826 F. Supp. 2d 990, 995–96 (E.D.

Tex. 2011) (“The court need not find uniformity in each and every aspect of employment to

determine a class of employees are similarly situated under § 216(b).”). Indeed, plaintiffs need only

to demonstrate “a reasonable basis” for the allegation that a class of similarly situated persons may




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exist. Vaughn v. Document Grp. Inc., 250 F. Supp. 3d 236, 239 (S.D. Tex. 2017); Cruz v. ConocoPhillips,

208 F. Supp. 3d 811, 816 (S.D. Tex. 2016).

B.       THE COURT SHOULD FOLLOW THE TWO-STAGE LUSARDI APPROACH                            IN   ISSUING
         NOTICE TO PUTATIVE CLASS MEMBERS

         Courts throughout the Fifth Circuit, including this one, uniformly apply a two-step approach

to determine whether plaintiffs are “similarly situated” to the potential plaintiffs. See Mooney, 54 F.3d

at 1213–16; Walker, 870 F. Supp. 2d at 465; Aguirre v. SBC Comm’n, Inc., No. H-05-3198, 2006 WL

964554, at *4–5 (S.D. Tex. April 11, 2006); Detho v. Asia Bilal, No. H-07-2160, 2008 WL 1730542, at

*2 (S.D. Tex. Apr. 10, 2008); Johnson v. Big Lots Stores, Inc., Nos. 04-3201, 05-6627, 2007 WL 5200224,

at *3 (E.D. La. Aug. 21, 2007) (“Since Mooney district courts in the Fifth Circuit have uniformly used

[the Lusardi approach]to determine whether a collective [action] should be certified under the

FLSA.”). Under this well-established and widely accepted Lusardi approach, the Court “determines

whether the putative class members’ claims are sufficiently similar” to authorize notice to potential

class members. Acevedo v. Allsup’s Convenience Stores, Inc., 600 F.3d 516, 519 (5th Cir. 2000) (citing

Mooney, 54 F.3d at 1213–14; see also Walker, 870 F. Supp. 2d at 465.

         The Lusardi approach proceeds in two stages—the “notice” stage and the “decertification”

stage. Rahman v. Fiesta Mart, LLC, Civ. No. H-15-2295, 2016 WL 2346944, at *2 (S.D. Tex. May 4,

2016). The first stage requires a plaintiff to show that the putative class members’ claims are

sufficiently similar to merit sending notice of the action to possible members of the class. See Walker,

870 F. Supp. 2d at 465 (citing Aguirre, 2006 WL 964554, at *4–5). Because the first step takes place

prior to the completion of discovery, the standard for notice “is a lenient one.” Mooney, 54 F.3d at

1214; see, e.g., Rahman, 2016 WL 2346944, at *2; Shaw v. Jaguar Hydrostatic Testing, LLC, No. 2:15-cv-

363, 2017 WL 3866424, at *4 (S.D. Tex. Sept. 5, 2017); Vargas v. The Richardson Trident Co., Civ. A.

No. H-09-1674, 2010 WL 730155, at *7 (S.D. Tex. Feb. 22, 2010). Application of this lenient

standard typically results in conditional certification. See Rahman, 2016 WL 2346944, at *2 (citing

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Walker, 870 F. Supp. 2d at 465 (noting that collective actions are generally favored under the

FLSA)).

         It is at the decertification stage, typically after discovery is largely complete, that the court

reviews the information obtained and makes a factual determination regarding “whether the

members of the conditionally-certified class are truly similarly situated.” Rahamn, 2016 WL 2346944,

at *3 (citing Mooney, 54 F.3d at 1214) (emphasis added). At the decertification stage, Plaintiffs must

show that there are “‘meaningful identifiable facts or legal nexus that bind the claims’ so that hearing

the cases together furthers the purposes of section 216, is fair to both parties and does not result in

an unmanageable trial.” Falcon v. Starbucks Corp., 580 F. Supp. 2d 528, 535 (S.D. Tex. 2008)

(addressing the “similarly situated” analysis at the decertification stage) (internal quotations and

citations omitted).

C.       DETERMINING CONDITIONAL CERTIFICATION AT THE “NOTICE” OR “FIRST” STAGE

         “Specifically, ‘[t]he first-stage test requires a minimal showing by the plaintiff that (1) there is

a reasonable basis for crediting the assertions that aggrieved individuals exist, (2) that those

aggrieved individuals are similarly situated to the plaintiff in relevant respects given the claims and

defenses asserted, and (3) that those individuals want to opt-in to the lawsuit.” Walker, 870 F. Supp.

2d at 465–66 (emphasis added) (citing Aguirre, 2006 WL 964554, at *6). If the court conditionally

certifies the class and issues notice, the case proceeds as a collective action during the discovery

period. See id. at 465. At the first stage of the Lusardi approach, an employee need only show that he

is suing his employer for himself and on behalf of other employees “similarly situated.” Mooney, 54

F.3d at 1213–14; Grayson, 79 F.3d at 1096.

         It is important to note that a plaintiff’s claims and positions need not be identical to the

potential opt-in plaintiffs’ claims: only similar. See Falcon, 580 F. Supp. 2d at 534 (noting that

“similarly situated” is required for conditional certification, “identically” situated is not); see also



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Grayson, 79 F.3d at 1096. Instead, the relevant inquiry is whether the Plaintiffs have sufficiently

shown that other current and former employees “were together the victims of a single decision,

policy or plan.” Wade v. Furmanite Am., Inc., No. 3:17-cv-00169, 2018 WL 2088011, at *3 (S.D. Tex.

May 4, 2018). “Courts usually base this decision upon ‘the pleadings and any affidavits that have

been submitted.” Id. at *2 (citing Mooney, 54 F.3d at 1213–14). Additionally, “[i]f there is a reasonable

basis to conclude that the same policy applies to multiple locations of a single company, [company-

wide] certification is appropriate.” Rueda v. Tecon Servs., Inc., Civ. A. No. H-10-4937, 2011 WL

2566072, at *4 (S.D. Tex. June 28, 2011).

         In addition to these factors, this Court considers whether other individuals desire to opt-in

and are similarly situated to those bringing the suit. See Walker, 870 F. Supp. 2d at 465–66; see also,

e.g., Flowers v. Mo’s Steakhouse, No. H-11-1235, 2012 WL 1941755, at *2 (S.D. Tex. May 29, 2012);

Dybach v. State of Fla. Dept. of Corrections, 942 F.2d 1562, 1567–68 (11th Cir. 1991); Pedigo v. 3003 South

Lamar, LLP, 666 F. Supp. 2d 693, 698 (W.D. Tex. 2009) (“[t]he joinder of additional plaintiffs after

the inception of the case is persuasive evidence that a putative class does exist). This factor is met

when the plaintiff can establish that putative class members have affirmatively opted-in to the

litigation. See McKnight v. D. Houston, Inc., 756 F. Supp. 2d 794, 805 (S.D. Tex. 2010) (finding that the

plaintiffs had met their burden because six additional plaintiffs had opted-in to the lawsuit).

         1.        There Is A Reasonable Basis for Crediting Assertions that Aggrieved
                   Individuals Exist, and Want to Opt-In to the Lawsuit

         Plaintiffs address the first and third factors together as they are both satisfied, in this case, by

the same evidentiary proof. While recognizing that the first and third factors involve different legal

questions, Plaintiffs assert that the number of opt-in plaintiffs to date both credits Plaintiffs’

assertions that aggrieved individuals exist, and that those individuals want to opt-in to the lawsuit. To

date, two additional former Nation Waste employees have filed their written consent to opt-in to

this litigation and Plaintiffs’ declarations exhibit that others who learn of this action would be

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interested in joining this case. See Ex. 1 ¶ 13; and Ex. 2 ¶ 12. This Court is well within its authority to

issue notice based on this fact alone. Shaffner v. Cash Register Sales & Serv. of Houston, Inc., No. H-05-

2064, 2006 WL 1007542, at *1 (S.D. Tex. Apr. 17, 2006).

         Moreover, the fact that Nation Waste automatically deducted 30 minutes per day from all of

its non-exempt Waste Disposal Drivers regardless of whether they actually took a lunch break,

where they worked, how long they worked, or any other individualized factors demonstrates that all

Waste Disposal Drivers are similarly situated for purposes of conditional certification. See Taylor v.

Republic Services, Inc., No. 2:16-cv-00502, Minute Entry (S.D. Tex. Feb. 24, 2017) (Ramos, J.)

(certifying a nation-wide class of more than 20,000 waste disposal drivers who alleged that they

worked through their automatically-deducted meal-period breaks); Velasquez v. WCA Mgmt. Co., L.P.,

No. 4:15-cv-02329, 2016 WL 4440332, at *1 (S.D. Tex. Aug. 23, 2016) (Harmon, J.) (certifying a

class of waste disposal drivers and helpers who alleged that they were underpaid for their overtime

hours); Turner v. BFI Waste Servs., LLC, 268 F. Supp. 3d 831, 840 (D.S.C. 2017) (Norton, J.)

(certifying class of waste disposal drivers who alleged that they worked through their automatically-

deducted meal-period breaks); Macias v. BF Waste Services of Texas, LP, No. 2:16-cv-00245-J, 2017 WL

1929496, (N.D. Tex. May 9, 2017) (Robinson, J.) (certifying class of waste disposal drivers who

alleged that they worked through their automatically-deducted meal-period breaks); Villegas v. Grace

Disposal Sys., LLC, No. CIV.A. H-13-320, 2014 WL 793977, at *6 (S.D. Tex. Feb. 27, 2014) (Miller

J.) (conditionally certifying a class of similarly situated waste disposal drivers); Falcon v. Starbucks

Corp., Civ. A. No. H-05-0792 (ECF No. 52) (S.D. Tex. Nov. 29, 2005) (Ellison, J.) (certifying a

nation-wide collective, encompassing 6,500 stores) (attached at App. 3); Nederland v. Caribou Coffee

Co., Inc., 564 F. Supp. 2d 1010, 1023–24 (D. Minn. 2007) (holding company’s “all or nothing”

approach to exemption analysis of store managers counseled in favor of finding plaintiffs were

similarly situated).



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         Nation Waste also did not pay overtime at a rate of time and one-half for all hours worked

in excess of forty (40) hours in a workweek. See Declaration of Paul Johnson ¶ 4 (attached at App. 1)

and Declaration of Christopher Jenkins ¶ 3 (attached at App. 2). Though the pay practice may have

differed, the policy and effect were the same—that is, Plaintiffs and the Putative Class Members

were denied overtime for all hours worked over forty each week. Uribe v. Houston Waste Solutions,

LLC, No. 4:18-cv-00726, Minute Entry (S.D. Tex. Oct. 26, 2018) (Bennett, J.) (conditionally

certifying a class of similarly situated waste disposal drivers who were not paid overtime for all hours

worked over forty each week); Flores v. Unity Disposal & Recycling, LLC, No. 8:15-cv-00196-WGC,

2015 WL 1523018, at *3–4 (D. Md. Apr. 2, 2015) (Connelly, J.) (conditionally certifying a class of

similarly situated sanitation workers who were victimized by defendant’s company-wide policy

whereby they were paid a flat day rate without proper overtime compensation); Cardenas v. AAA

Carting, No. 7:12-cv-07178-VB-LMS, 2013 WL 4038593, at *1–2 (S.D.N.Y. Aug. 9, 2012) (Smith, J.)

(conditionally certifying a class of similarly situated carting and/or sanitation workers where

plaintiffs sufficiently alleged a company-wide policy of, inter alia, requiring employees to work more

than forty hours per week without proper overtime compensation). The fact that Nation Waste did

not pay its non-exempt Waste Disposal Drivers—Plaintiffs and the Putative Class Members—ANY

overtime regardless of where they worked, how long they worked, or any other individualized

factors demonstrates that all of Nation Waste’s Waste Disposal Drivers are similarly situated for

purposes of conditional certification. Nederland v. Caribou Coffee Co., Inc., 564 F. Supp. 2d 1010, 1023–

24 (D. Minn. 2007) (holding company’s “all or nothing” approach to exemption analysis of store

manages counseled in favor of finding plaintiffs were similarly situated).

         2.        Plaintiffs and the Putative Class Members are “Similarly Situated”

         Plaintiffs and the Putative Class Members are similarly situated and this Court should order

company-wide notice based on the substantial allegations contained in the form of the pleadings,



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declarations and the existence of a previous FLSA lawsuit against Nation Waste with the same or

similar allegations.3 Plaintiffs and the Putative Class Members have alleged that Nation Waste failed

to compensate them for all hours worked and failed to pay overtime compensation for all hours

worked over forty each week. Indeed, Plaintiffs and the Putative Class Members have presented

evidence of a meaningful nexus that binds together the claims of Plaintiffs and Putative Class

members by showing they were together the victims of a single decision, policy, or plan. See Falcon,

580 F. Supp. 2d at 539–40; see also Rosas v. Dark Star, No. 2:16-cv-00140, ECF No. 19 (S.D. Tex. Jul.

31, 2017) (attached at App. 4); Taylor, No. 2:16-cv-00502, Min. Entry (S.D. Tex. Feb. 24, 2017)

(Ramos, J.). The evidence is clear that Plaintiffs and Putative Class Members all performed the same

type of work, all worked similar hours, were not paid overtime compensation, and were subject to

the same automatic daily meal-period deductions.

         Nation Waste provides roll-off containers (dumpsters) in multiple capacities, portable

restrooms, as well as compactors and balers for virtually any waste, refuse, and recycling

requirements for the Greater Houston and Austin areas. Plaintiffs and the Putative Class Members

all perform the same or similar duties—that is, driving waste disposal trucks, hauling waste,

recycling, and other refuse to various landfills or disposal sites throughout the Greater Houston and

Austin areas. See Ex. 1 ¶ 6; and Ex. 2 ¶ 5. Plaintiffs and the Putative Class Members all worked

overtime. Ex. 1 ¶¶ 7–8; and Ex. 2 ¶¶ 6–7. Plaintiffs and the Putative Class Members all had thirty

(30) minutes of pay automatically deducted from their hours worked each day for a meal break they

either worked through or did not take at all. See Ex. 1 ¶¶ 9–10; Ex. 2 ¶¶ 8–9. Nation Waste was

aware its Waste Disposal Drivers did not take a full uninterrupted thirty (30) minute meal break but

made the deduction regardless. See Ex. 1 ¶¶ 11–12; and Ex. 2 ¶¶ 10–11. And finally, Nation Waste

did not pay the proper overtime rate of one and one-half the regular rate for all hours worked in


         3   See Galo v. Nation Waste, Inc. et al., No. 4:08-cv-00307 (S.D. Tex. 2008) (Lake, J.).


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excess of forty (40) in a workweek. See Ex. 1 ¶ 4; and Ex. 2 ¶ 3. While some Waste Disposal Drivers

were paid a day rate and no overtime and others were paid straight time and no overtime, the effect

of Nation Waste’s pay policies were the same. That is, Plaintiffs and the Putative Class Members

were not paid overtime for all hours worked in excess of forty (40) hours in a workweek.

                                    V.
             COURT-AUTHORIZED NOTICE IS APPROPRIATE IN THIS CASE

         The Court should authorize notice to be sent to all Waste Disposal Drivers who worked for

Nation Waste, Inc. at any time from January 18, 2016 through the present. A collective action

depends “on employees receiving accurate and timely notice concerning the pendency of the

collective action, so that they can make informed decisions about whether to participate.” Hoffmann-

La Roche Inc., 493 U.S. at 170. Court-authorized notice prevents “misleading communications” and

assures the dissemination of accurate information. Id. at 172.

A.       PLAINTIFFS’ PROPOSED NOTICE IS TIMELY, ACCURATE AND INFORMATIVE

         Plaintiffs request that the Court approve the proposed Notice and Consent form attached at

Appendix 5. Plaintiffs’ proposed Court-approved notice to the Putative Class Members is “timely,

accurate, and informative,” as required. Hoffmann-La Roche, 493 U.S. at 172. It informs the Putative

Class Members of their rights to opt-in to this litigation in a neutral manner, provides that this Court

has yet to decide the merits of the dispute, and provides that Nation cannot retaliate against them

for asserting their rights.

B.       PLAINTIFFS’ PROPOSED NOTICE AND CONSENT FORMS SHOULD BE SENT VIA FIRST
         CLASS MAIL, E-MAIL, AND TEXT MESSAGE

         Plaintiffs propose that the Notice and Consent forms be mailed via First Class Mail, e-mail,

and text message to all Waste Disposal Drivers who worked for Nation Waste, Inc. at any time from

January 18, 2016 through the present. E-mail notice is a common form of notification in FLSA cases

and is routinely granted by courts in the Fifth Circuit and across the United States. As the



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Honorable Judge Robert Pitman recognized in Page v. Crescent Directional Drilling, L.P. “[e]mail is not

the wave of the future; [it] is the wave of the last decade and a half[.]” No. 5:15-cv-193-RP, 2015 WL

12660425, at *3 (W.D. Tex. Dec. 10, 2015) (citing Rodriguez v. Stage 3 Separation, LLC, 5:17-cv-603-

RP, at 2 n.1 (W.D. Tex. Mar. 16, 2015)). Sending notice by email effectuates the broad remedial

purpose of the FLSA by facilitating notice to members of the putative class. Jones v. Cretic Energy

Srvs., LLC, 149 F. Supp. 3d 761, 776 (S.D. Tex. 2015).

         Indeed, even email may be going the way of first-class mail. Many email services now include

SPAM filters that automatically discard emails sent by users who have not contacted the targeted

email address before. However, the prevalence of cell-phones and text messaging today raises an

even better avenue to alert Putative Class Members of their right to join a collective action to

recover unpaid wages (and other damages) under the FLSA. Text Message notification has

previously been granted in this District and is likely to be granted more in the future as it currently

offers the best possible way to alert Putative Class Members of their rights. See Barnes v. Gracia

Mexican Kitchen, LLC, No. 2:18-cv-00140, Minute Entry (S.D. Tex. Jan. 10, 2019) (Libby, J.)

(approving text message notice to putative class members in an FLSA collective action and

recognizing that it is the best way to reach someone); see also Self v. Quinn’s Rental Srvs. (USA), LLC,

No. 4:15-cv-01569, Minute Entry (S.D. Tex. Feb. 29, 2016) (Rosenthal, J.) (granting text message

notice to the putative class members in an FLSA collective action).

         Plaintiffs’ counsel will oversee the dissemination of such notices and pay the up-front

charges. Plaintiffs’ counsel also requests that it be permitted to employ a third-party claims

administration company to assist in the notice process if deemed necessary and appropriate. All

Putative Class Members interested in joining this lawsuit would be required to return their respective

consent form to Plaintiffs’ counsel for filing with this Court within sixty (60) days of the mailing of

the Notice and Consent forms.



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         Plaintiffs request that Putative Class Members be given the option to execute their consent

forms online through an electronic signature service. This service allows Putative Class Members to

sign their consent forms electronically by clicking on a link in an encrypted email or encrypted text

message link4 designated only for that user, which in turn allows them to review the document,

indicate they read and understood the consent form, and type additional information. Users are

instantaneously provided with a PDF copy of the form, and a copy is accessible to Plaintiffs’ counsel

who will, in turn, file the same with the Court. Importantly, this would merely be an additional

option for signing the consent form.

C.       THE NOTICE           AND     CONSENT FORMS SHOULD BE POSTED               AT   NATION WASTE’S
         FACILITIES

         Plaintiffs also propose that the Notice and Consent forms be posted in plain view at each of

Nation Waste’s facilities. Courts in this District and throughout the Fifth Circuit have found that

posting the court-approved notice at a defendant’s job sites to be a proper (and effective) means of

disseminating notice of FLSA collective actions. See Turner v. Nine Energy Srvs. LLC, No. H-15-3670,

2016 WL 6638849, at * 9 (S.D. Tex. Oct. 4, 2016) (“Posting in a workplace is often used to inform

employees of their rights in labor disputes and has been approved as an appropriate form of notice

in FLSA cases”); Garcia v. TWC Admin., LLC, SA:14-cv-985-DAE, 2015 WL 1737932, at *5 (W.D.

Tex. Apr. 16, 2015).

D.       PRODUCTION OF THE LAST FOUR DIGITS OF SOCIAL SECURITY NUMBERS

         Plaintiffs also propose that Nation Waste provide Plaintiffs’ counsel the last four digits of

the social security number of any Putative Class Member for whom the mailed notice is returned as

undeliverable by the United States Postal Service. The last four digits are needed to obtain current

contact information for the Putative Class Members and are routinely produced by an employer for


         Plaintiffs’ text message link will provide the Putative Class Members access to the exact same e-sign
         4

Notice and Consent form that the email notice will provide.


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purposes of the notice process. See Blake v. Colonia Savings, F.A., No. H-04-0944, 2004 WL 1925535,

at *2 (S.D. Tex. Aug. 16, 2004); see also Nelson v. Am. Standard, Inc., No. 2:07-cv-010, 2008 WL

906324, at *4 (E.D. Tex. Mar. 31, 2008).

E.       REMINDER NOTICES SHOULD BE SENT TO PUTATIVE CLASS MEMBERS

         In addition to the initial notice by regular mail and e-mail, Plaintiffs request permission to

send a follow-up reminder notice via regular mail and e-mail thirty (30) days after the initial notice is

sent to those who have not opted into the case. Sending a reminder notice with a consent form

helps to further the FLSA’s broad remedial purposes by ensuring that all persons who are interested

in joining the collective action do so within the prescribed time-period. Courts routinely approve the

sending of follow-up notice to facilitate the broad remedial purpose of the FLSA. See Jones, 149 F.

Supp. 3d at 776–77.

F.       COURTS ROUTINELY REQUIRE THE PRODUCTION                         OF    PERSONAL CONTACT
         INFORMATION FOR THE NOTICE PROCESS

         Plaintiffs also request that the Court order Nation Waste to provide the names, last known

mailing addresses, all known e-mail addresses, phone numbers, dates of birth, driver’s license

numbers, and dates of employment for all Putative Class Members. Production of a mailing list and

complete contact information for the Putative Class Members is a necessary (and routine)

component of the notice process in collective actions. See Turner, 2016 WL 6638849, at *11 (ordering

defendants to provide “all names, addresses, phone numbers, email addresses, and dates of

employment for the putative class members”); Nelson, 2008 WL 906324, at *4 (ordering defendant to

provide to plaintiffs the names, home addresses, home telephone numbers, social security numbers

and dates of birth of the putative class members). Indeed, district courts have routinely ordered the

production of names and addresses of potential collective action members to plaintiffs’ counsel.

Nation Waste should therefore be ordered to produce this information to Plaintiffs’ counsel in a

timely and efficient manner.

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         All of the requested information is necessary to allow Plaintiffs’ counsel (or a third-party

administrator) sufficient information to confirm current addresses and/or locate those Putative

Class Members who may have moved. Moreover, the production of all known e-mail addresses is

particularly important because (as noted above) such contact information typically does not change

when a person moves, and e-mail notice is an efficient and convenient form of communication.

                                                        VI.
                                                    CONCLUSION

         Based on the detailed pleadings, briefing, and declarations Plaintiffs have affirmatively

demonstrated that the Putative Class Members are similarly situated and Court-approved notice

should be sent to all Waste Disposal Drivers who worked for Nation Waste, Inc. at any time from

January 18, 2016 through the present. In order to facilitate the purposes of the FLSA’s collective

action provisions, Plaintiffs respectfully request that the Court grant this Motion and provide the

following relief to Plaintiffs:

         (1)       Conditionally certify this case as a collective action for purposes of notice and
                   discovery;

         (2)       Order Nation to produce to Plaintiffs’ counsel within fourteen (14) days of the
                   granting of this Motion, in a computer-readable format, the contact information
                   (including the names, addresses, telephone numbers, e-mail addresses, employee
                   identification numbers, dates of birth, dates of employment with corresponding
                   locations of employment, and last four digits of social security numbers) for each
                   Putative Class Member;

         (3)       Approve the form and content of Plaintiffs’ proposed judicial notice and reminder
                   notice;

         (4)       Order that judicially-approved notice be sent to all Putative Class Members via First
                   Class Mail, e-mail, text-message and allow the hiring of a third-party claims
                   administration company, for use at Plaintiffs’ discretion;

         (5)       Authorize the Putative Class Members to execute their consent forms electronically;

         (6)       Authorize a 60-day notice period for the Putative Class Members to join the case;
                   and

         (7)       For any such other relief as this Court deems just and proper.

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Date: January 18, 2019                                    Respectfully submitted,

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                                     CERTIFICATE OF CONFERENCE

              I certify that I conferred with counsel for Defendant and they are opposed to the relief

requested in this Motion.

                                                          /s/ Clif Alexander
                                                          Clif Alexander



                                          CERTIFICATE OF SERVICE

         I hereby certify that on January 18, 2019, I electronically filed the foregoing document with

the clerk of the court for the U.S. District Court, Southern District of Texas, using the electronic

case filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”

to the attorneys of record who have consented in writing to accept this Notice as service of this

document by electronic means.

                                                          /s/ Clif Alexander
                                                          Clif Alexander




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